Filed 8/21/24 P. v. DODG Corp. CA1/4

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         IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                                     FIRST APPELLATE DISTRICT

                                                 DIVISION FOUR


 THE PEOPLE et al.,
         Plaintiffs and Respondents,                                   A163757, A164933
                           v.                                          (Alameda County
 DODG CORPORATION et al.,                                              Super. Ct. No. RG19022353)
         Defendants and Appellants.


         Based on alleged extensive code violations and unsafe conditions at
residential rental properties in Oakland, plaintiffs the People of the State of
California (the People) and the City of Oakland (the City) brought this civil
action asserting public nuisance and tenant protection claims against
defendants DODG Corporation (DODG) and SBMANN2, LLC (SBMANN2)
(the corporate entities that own the properties) and Baljit Singh Mann and
Surinder K. Mann (the individuals who own and operate the corporate real
estate businesses). After a bench trial, the trial court entered judgment for
plaintiffs, issued a 5-year permanent injunction, and awarded nearly $4
million in civil penalties, as well as attorney fees and costs.
         On appeal, defendants contend (1) the court lacked authority to award
civil penalties, among other reasons because the City failed to exhaust
administrative remedies, (2) the alleged failure to exhaust requires reversal

                                                              1
of the entire judgment, including the injunction, (3) the court erred in
imposing personal liability on the Manns, (4) the civil penalty award for one
of the properties is excessive, and (5) the attorney fees award is defective.
      We reverse in part and affirm in part. We affirm the court’s liability
findings and the injunction, but we conclude much of the civil penalty award
must be reversed as unauthorized by the applicable Oakland ordinances.
We remand for recalculation of the civil penalties to the extent there was
authority to impose them. Our disposition on the civil penalties issue
obviates any need to address whether the penalty was excessive at a single
property. Finally, due to our partial reversal of the judgment, we vacate
and remand the attorney fees award for reconsideration by the trial court.
                            I. BACKGROUND1
   A. The Defendants’ Real Estate Business
      Defendants Baljit Mann and Surinder Mann (who are husband and
wife) have owned and managed real estate in Oakland since 1980. They are
corporate officers and shareholders of several closely held entities that own,
manage, or rent out real property in Oakland, and for some of those they are
the sole officers. The entities have common management and an Oakland
office that Surinder Mann oversees. In total, at the time of trial, the
companies owned about 130 properties in Oakland, 30 to 60 of which were
residential.
      Two of the closely held entities are defendants DODG and SBMANN2.
Baljit Mann is the president of DODG, and Surinder Mann is its vice
president and chief financial officer. They are also the sole managing




      1 We derive our summary of the background facts in part from the

trial court’s statement of decision, as well as the underlying trial evidence.


                                       2
members of SBMANN2. DODG and SBMANN2 own over 60 parcels in
Oakland.
      Plaintiffs’ claims in this case arise from defendants’ alleged real estate
practices at six Oakland properties: 276 Hegenberger Road, 5848 Foothill
Boulevard, 5268-5296 Foothill Boulevard, 5213-5219 International
Boulevard, 1921 International Boulevard, and 1931 International
Boulevard. DODG owns five of the six properties, all but 5213-5219
International Boulevard, which is owned by SBMANN2.
      The trial court found that Baljit Mann frequently visited leased
properties (sometimes daily or weekly), at least through May 2018. He
made oral rental agreements and was a primary tenant contact for some
properties. He also coordinated maintenance and communicated with the
City about violations. Surinder Mann managed office operations, including
supervising employees, signing leases, and negotiating move-out
agreements with tenants.
   B. The Properties and the Alleged Violations
      1. 276 Hegenberger Road
      At the commercial property it owned at 276 Hegenberger Road (a
warehouse), DODG created residential units without permits and rented
them to residential tenants. At least one residential tenant lived at the
property for 15 years.
      In early 2018, City inspectors from the Planning and Building
Department’s Code Enforcement unit (“Code Enforcement”) and the Fire
Prevention Bureau (“FPB”) discovered there were people living in about 15
units at the property. There was evidence of long-term residential
occupancy, including beds, toys, clothes, and kitchens and bathrooms in
active use.



                                       3
       Inspectors discovered numerous significant code violations affecting
health and safety, including water intrusion; windowless sleeping rooms; no
heat; no smoke or carbon monoxide detectors; no hot running water;
improperly vented water heaters; lack of ventilation; hazardous electrical
wiring; and nonfunctioning fire extinguishers. Inspectors described the
conditions at 276 Hegenberger as “by far the—the worst that I [have] seen,”
and as “a nine [out of ten], being a very dangerous building for people that
were living in it . . . .”
       After the inspections, FPB issued Fire Inspection Reports and Code
Enforcement issued an Order to Abate to DODG, listing the code violations
and informing DODG that “uninhabitable conditions on the premises
represent a serious threat to the health, life safety, and welfare of the
occupants and the public.” FPB also directed DODG to place the building on
a “fire watch,” requiring observation for signs of fire, and to install basic fire
safety equipment immediately. Apart from complying with these emergency
measures, DODG did not abate the remaining violations, and families
continued to live at the property.
       Code Enforcement issued a Notice of Substandard/Public Nuisance
Declaration in May 2018, again instructing DODG to abate violations and
discontinue residential use. In response, Baljit Mann met with City officials
and agreed to address the violations through a compliance plan. Tenants
remained at the property, so Code Enforcement “red-tagged” the warehouse,
posting notices to occupants that the building was unsafe to occupy. By July
2018, the last of the residential tenants moved out.
       2. 5848 Foothill Boulevard
       5848 Foothill Boulevard is a commercial building that DODG
converted to residential use without permits. In 2016, Code Enforcement
discovered violations at the property and found evidence of residential use.

                                        4
Between 2016 and 2019, Code Enforcement and FPB issued notices of
violation, orders to abate, and fire inspection reports identifying code
violations, which included water intrusion, no smoke detectors, a
nonfunctioning elevator, and out-of-date fire safety equipment.
      3. 5268-5296 Foothill Boulevard
      The property at 5268-5296 Foothill Boulevard was owned by DODG
beginning in April 2017 (and had been owned since 2006 by OakVel
Enterprises, a real estate holding company affiliated with the Manns). The
building initially included only commercial units, which were later
converted to live/work units. But the trial court found that defendants
rented out the live/work units “to residential tenants without first installing
an FPB approved sprinkler system (or obtaining an exemption) as required
by the Fire Code [citation], despite the Planning and Building Department’s
express and repeated instructions to do so as part of the property’s
conversion from commercial to live/work.”
      In November 2018, an inspection by Code Enforcement revealed code
violations, including missing smoke detectors and emergency lights,
unsecured exterior doors, and an unpermitted water heater. In December
2019, City inspectors observed significant violations that presented a severe
fire risk, causing FPB to order a “fire watch” for the property.
      The trial court noted that inspectors found “no smoke and carbon
monoxide detectors, emergency lights, exit lighting, fire alarm, or
functioning fire extinguishers, and holes in the ceilings and walls
throughout the property, all violations of the Fire Code.” “Fire sprinklers
were present but not hooked up to a water source, rendering them useless.”
      In addition, there were violations of housing and health and safety
standards, including cockroaches in electrical panels, nonfunctioning heat,
noncompliant electrical systems, improper ventilation of gas appliances, and

                                       5
unapproved alterations, including room partitions and stairways. The trial
court found that a tenant in one of the units was responsible for unapproved
alterations in her unit (and the court did not impose liability on defendants
for the alterations in that unit), but many of the violations were in common
areas or in other units.
      After the December 2019 inspection, Surinder Mann negotiated lease
terminations with tenants in four of the illegally converted units. The
agreements required tenants to consent to a full release of claims, and
DODG did not inform tenants of their right to relocation payments.
      4. 5213-5219 International Boulevard
      SBMANN2 owns the property at 5213-5219 International Boulevard,
which contains multiple structures. After a fire damaged one of the units,
the City sent a notice of violation about the fire damage in July 2018. A
reinspection in April 2019 revealed the other buildings were being used for
unpermitted residential use, with power supplied through unapproved
electrical work. SBMANN2 did not apply for permits until September 2020.
      5. 1921 and 1931 International Boulevard
      1921 and 1931 International Boulevard are “adjacent but distinct
properties” owned by DODG. In April 2019, City emergency personnel
responding to a fire at a nearby building discovered at least 10 tenants
living in unpermitted residential units behind street front commercial
spaces.
      DODG rented to residential tenants at the property as early as
February 2018. Unsafe conditions and code violations included inadequate
egress, no sprinkler system or fire alarm, hazardous plumbing and electrical
wiring, and no heat. The City “red-tagged” the residential units, instructing
tenants to vacate, in addition to issuing notices of violation and orders to
abate. The City later made relocation payments to some of the tenants.


                                       6
   C. Procedural Background
      The People and the City, both represented by the Oakland City
Attorney, filed the complaint in this action on June 10, 2019. The complaint
named as defendants DODG, SBMANN2, Baljit Mann, and Surinder Mann.
The complaint asserted claims based on conditions at the properties
discussed above and alleged (1) violations of Oakland’s Tenant Protection
Ordinance (TPO) (Oakland Mun. Code, § 8.22.600 et seq.) (first cause of
action), and (2) public nuisance under both state and municipal law (Code
Civ. Proc., § 731; Civ. Code, §§ 3479, 3480, 3491, 3494; Oakland Mun. Code,
chs. 1.08, 8.22, 15.08) (second cause of action).2 The complaint sought civil
penalties, injunctive relief, restitution, and attorney fees and costs.
      After a 13-day bench trial in April 2021, the trial court issued a
statement of decision on September 1, 2021. The court found the defendants
liable under the TPO and under public nuisance law. Specifically, based on
the conditions and defendants’ conduct at the properties described above,
the trial court found defendants violated the TPO, including by failing to
provide “housing services,” failing to make timely repairs, and breaching the
covenant of quiet use and enjoyment. (§ 8.22.640, subd. (A)(1), (2), (3), (10).)
      The court found that defendants acted in bad faith (i.e., their conduct
was “ ‘willful, reckless, or grossly negligent’ ”) and that their conduct
constituted a “ ‘pattern and practice’ ” of violating the TPO (§ 8.22.670,
subd. (A)(2)). In addition to the TPO violations, the court found defendants
created a public nuisance, as defined by state law and in Oakland’s building


      2 The City brought the first cause of action for violation of the TPO,

while both the People and the City brought the second cause of action for
public nuisance.
     Undesignated section and chapter references are to the Oakland
Municipal Code.


                                        7
and maintenance codes, at most of the properties at issue. (See Civ. Code,
§§ 3479–3480.)
         As to relief, the court held that two different portions of the Oakland
Municipal Code—the TPO (§ 8.22.600 et seq.) and chapter 1.08 (§ 1.08.010
et seq.)—authorize daily civil penalties. The court concluded daily penalties
of between $250 and $1,000 were appropriate (for differing time periods)
based on the violations at the several properties at issue. In a judgment
entered on September 23, 2021, the court imposed civil penalties totaling
$3,987,550.
         The total consisted of (1) an award of $3,797,050 against DODG, with
Baljit Mann jointly liable for $1,385,500 of this amount, and Surinder Mann
jointly liable for $448,000, and (2) an award of $190,500 against SBMANN2,
with Baljit Mann and Surinder Mann jointly liable for this full amount.
         The court also issued a five-year permanent injunction on
September 1, 2021, pursuant to the TPO and state public nuisance law. The
injunction requires defendants to cure outstanding violations, reform their
property management practices, make relocation payments to tenants, and
submit regular reports to the City, as well as barring defendants from
committing future violations.
         On October 19, 2021, defendants filed a notice of appeal challenging
the trial court’s September 1, 2021 injunction order and the September 23,
2021 judgment (initiating appeal No. A163757).
         The trial court later granted plaintiffs’ motion for attorney fees on
February 1, 2022, and entered an amended judgment on March 10, 2022
that includes the amounts awarded as fees and as statutory costs. The
court awarded $2,375,491.50 in attorney fees and $24,456.01 in statutory
costs.



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      Defendants appealed the fee order and the amended judgment
(initiating appeal No. A164933). We consolidated defendants’ two appeals.
                             II. DISCUSSION
   A. The Trial Court’s Authority To Award Relief
      Defendants’ principal argument on appeal is that, because the City
failed to follow required administrative procedures under chapter 1.08, the
trial court exceeded its authority (or otherwise erred) by awarding civil
penalties and injunctive relief, requiring reversal of the entire judgment.
      Defendants frame this contention in a variety of ways, asserting the
City failed to exhaust administrative remedies; the City “failed to satisfy
multiple statutory due-process-based preconditions”; and the trial court
violated the primary jurisdiction doctrine. Among these various arguments
is that Chapter 1.08 “doesn’t authorize the court to impose civil penalties at
all.” For their part, plaintiffs contend that both chapter 1.08 and the TPO
authorize the imposition of civil penalties in a civil action, rather than just
the administrative assessment of civil penalties. They further contend that
defendants’ arguments based on exhaustion and similar principles provide
no basis for reversal of any part of the judgment.
      In resolving the claim that the court exceeded its authority, we start
with first principles. Courts have authority to (1) use common law or
equitable remedies that have not been abolished or replaced by statute, and
(2) create judicial remedies where a statutory procedure to enforce a right is
lacking. (3 Witkin, Cal. Procedure (6th ed. 2024) Actions, § 3 [“A judicial
remedy available at common law or in equity may still be available in the
absence of a statute abolishing or superseding it [citation]; and a remedy
may be entirely created by judicial decision where a statutory procedure for
the enforcement of a right is lacking.”].)



                                        9
      With civil penalties, we do not have a remedy that was available at
common law or in equity. Setting aside the equitable relief awarded here—
the injunction—the sole relief sought and obtained here was by authority of
legislative enactment, to wit chapter 1.08 and the TPO. The parties
presuppose, and we agree, that if the civil penalties awarded here are not
authorized by one or both of these legislative enactments, the court exceeded
its authority. In the absence of legislatively conferred authority, there is no
inherent judicial authority to award civil penalties as a remedy for
adjudicated violations of these ordinances.
      As we explain below, the only “statutory procedure” made available to
obtain civil penalties is to seek their imposition administratively and then
enforce those penalties in court, not to seek their imposition in court in the
first instance. To the extent the defendants frame this problem as a matter
of exhaustion of remedies or primary jurisdiction, we reject those
contentions. We see the problem, more fundamentally, as a matter of lack
of judicial power to award civil penalties where that remedy was not
legislatively authorized—until Oakland Ordinance No. 13608 was passed in
July 2020 amending the TPO to authorize the city attorney to seek civil
penalties in a civil action.
      1. Chapter 1.08 Does Not Authorize the Trial Court’s Award of
         Civil Penalties
      We turn first to whether chapter 1.08 (entitled “Civil Penalties” and
consisting of §§ 1.08.010–1.08.090) provides a basis for an award of civil
penalties in a civil action, as the plaintiffs contend, or only an
administrative assessment of civil penalties followed by enforcement of
those penalties in court, as the defendants contend. The trial court adopted
the plaintiffs’ position. We reach the opposite conclusion.




                                       10
      In addressing this issue, we have no occasion to address the parties’
arguments as to whether the City failed to exhaust administrative
remedies, failed to comply with any required administrative prerequisites to
obtaining relief under chapter 1.08, or lacked jurisdiction under the primary
jurisdiction doctrine. Based on our interpretation of Oakland Municipal
Code, chapter 1.08, we conclude the civil penalty award must be vacated for
lack of judicial authority to issue it.
      Our review here is de novo. “ ‘We interpret ordinances by the same
rules applicable to statutes.’ ” (Amaral v. Cintas Corp. No. 2 (2008)
163 Cal.App.4th 1157, 1183.) These rules are well established. We look
first to the language of the statute, striving to give significance to every
word and phrase (Copley Press, Inc. v. Superior Court (2006) 39 Cal.4th
1272, 1284) and giving the language “ ‘a plain and commonsense meaning’ ”
(New Cingular Wireless PCS, LLC v. Public Utilities Com. (2016)
246 Cal.App.4th 784, 795). “ ‘We do not, however, consider the statutory
language in isolation; rather, we look to the entire substance of the statutes
in order to determine their scope and purposes. [Citation.] That is, we
construe the words in question in context, keeping in mind the statutes’
nature and obvious purposes. [Citation.] We must harmonize the various
parts of the enactments by considering them in the context of the statutory
framework as a whole.’ ” (Ibid.) Courts liberally construe remedial statutes
with a view to their protective purposes. (Mahan v. Charles W. Chan Ins.
Agency, Inc. (2017) 14 Cal.App.5th 841, 860–861.) But “[a] mandate to
construe a statute liberally in light of its underlying remedial purpose does
not mean that courts can impose on the statute a construction not
reasonably supported by the statutory language.” (Meyer v. Sprint
Spectrum L.P. (2009) 45 Cal.4th 634, 645).



                                          11
      We conclude chapter 1.08 authorizes City officials to assess civil
penalties administratively and allows the assessed penalties to be collected
through a court action, but the chapter does not authorize the city attorney
to seek in a civil action the judicial imposition or assessment of civil
penalties in the first instance. Section 1.08.010 states the purpose of
chapter 1.08 is to provide “an alternative method of code enforcement” to
abate violations of certain laws.3 Section 1.08.020, subdivision (A) specifies
that the chapter “authorizes the administrative assessment of civil penalties
to effect abatement” of (among other things) violations of certain Oakland
municipal codes (including building and housing codes, as well as the TPO,
which is a portion of the city’s health and safety code) and public nuisances.
(§ 1.08.020, subd. (A), italics added; see § 1.08.030, subds. (A), (B)
[incorporating state law public nuisance standards].)
      Section 1.08.040 provides more detail about the authority for
administrative penalties, stating that when a “major violation” exists at a
property, “administrative civil penalties may be assessed to effect
abatement” (§ 1.08.040, subd. (A)), and that “[t]he City Manager, or his or
her designee, is authorized to assess civil penalties administratively in
accordance with the procedures established in this Chapter” (id., subd. (B)).
Other provisions in chapter 1.08 describe those procedures, including
stating that an “assessment notice” about the alleged violations is to be
served on “the responsible person” (i.e., the person or entity responsible for



      3 Section 1.08.010 states:  “The purpose of this Chapter is to provide
for the protection, health, safety, and general public welfare of the residents
of the City and to preserve the livability, appearance, property values, and
social and economic stability of the City by providing an alternative method
of code enforcement to effect abatement of violations of the laws, codes,
ordinances and regulations identified in this Chapter.”


                                       12
causing the alleged violation) (§ 1.08.050, subds. (A), (B), (D); see § 1.08.030,
subd. (D)), and that the responsible person may request an administrative
hearing to adjudicate the assessment of civil penalties (§ 1.08.080,
subd. (A)), a hearing that will result in a “final and conclusive”
determination about civil penalties (id., subd. (C)). Chapter 1.08 also
specifies rules and factors that are to govern the amount and duration of
civil penalties, while authorizing the city manager to establish guidelines on
those issues. (§ 1.08.060.)
      Taken together, the provisions of chapter 1.08 establish a detailed
scheme for the administrative assessment of civil penalties by the city
manager or a designee to abate certain code violations and public nuisances.
The chapter does not set out any comparable express authorization for a
civil action by the city attorney to request a court to impose or assess civil
penalties. Chapter 1.08 thus differs from the San Francisco Municipal Code
section at issue in City and County of San Francisco v. Sainez (2000)
77 Cal.App.4th 1302, 1309 (cited by the trial court and plaintiffs), which
expressly provided that a civil penalty for a housing code violation was to be
“assessed and recovered” in a civil action brought by the city attorney.
Unlike the municipal code provision at issue in Sainez, chapter 1.08 does
not authorize the civil penalties awarded by a superior court.
      The provisions of chapter 1.08 cited by the trial court here (and by
plaintiffs in their appellate brief)—sections 1.08.040, 1.08.020, 1.08.090, and
1.08.010—do not persuade us to the contrary. As noted, section 1.08.040
provides for the assessment of “administrative civil penalties” (§ 1.08.040,
subd. (A)) and authorizes the city manager or a designee “to assess civil
penalties administratively in accordance with the procedures established in
this Chapter” (id., subd. (B)). Then, subdivision (G) of the section (which is



                                       13
cited by the trial court and by plaintiffs) states: “Civil penalties and related
administrative expenses, including attorneys’ fees, shall accrue to the
account of the responsible department [i.e., the department responsible for
enforcing the code provisions at issue] and may be recovered by all
appropriate legal means, including but not limited to nuisance abatement
lien and special assessment/priority lien of the general tax levy, or by civil
and small claims action brought by the City, or both.” (§ 1.08.040, subd. (G),
italics added; see § 1.08.030, subd. (C) [definition of “responsible
department”].)
      We do not agree that the italicized language in section 1.08.040,
subdivision (G) establishes a parallel authorization (separate from the
administrative assessment process) for the city attorney to file a civil action
requesting the judicial imposition or assessment of civil penalties. Instead,
in our view, the most logical reading of section 1.08.040, subdivision (G)—in
light of its reference to the “recover[y]” of civil penalties that have “accrue[d]
to the account of the responsible department,” and its placement at the end
of a section that authorizes the administrative assessment of civil
penalties—is that it authorizes a court action as one of several methods to
collect penalties that have already been assessed through the
administrative process that chapter 1.08 describes in detail. The statutes
cited by plaintiffs as purportedly analogous to chapter 1.08 are materially
different. Those statutes expressly provide that a civil action may be
brought as an alternative to the administrative assessment of civil penalties
(Lab. Code, § 2699, subds. (a), (e)(1)) or they simply authorize a court action
to recover penalties with no reference to an administrative assessment
process (Health &amp; Saf. Code, § 43154, subd. (b)).




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      The trial court and the plaintiffs note chapter 1.08 does not specify
that the administrative assessment of civil penalties is an exclusive
mechanism, and indeed sections 1.08.090 and 1.08.020, subdivision (B) state
the remedies authorized by chapter 1.08 are not exclusive, while
section 1.08.010 states that chapter 1.08 provides “an alternative method of
code enforcement” to abate violations. But these non-exclusivity provisions
do not alter our conclusion as to the scope of chapter 1.08. Section 1.08.090
provides: “Remedies under this Chapter are in addition to and do not
supersede or limit any and all other remedies, civil or criminal. The
remedies provided for herein shall be cumulative and not exclusive. The
enforcement official shall have the discretion to select a particular remedy to
further the purposes and intent of the chapter, depending on the particular
circumstances. The enforcement official’s decision to select a particular
remedy is not subject to appeal.” Similarly, section 1.08.020, subdivision (B)
states: “Civil penalties established in this Chapter are in addition to any
other administrative or legal remedy which may be pursued by the City to
address violations of the codes and ordinances identified in this Chapter.”
      In our view, these provisions do not support a conclusion that
chapter 1.08 itself authorizes the city attorney to pursue a civil action
seeking judicial imposition or assessment of civil penalties. Instead,
sections 1.08.090 and 1.08.020, subdivision (B) make clear that nothing in
chapter 1.08 eliminates, or precludes the City from pursuing, remedies that
may be available under other provisions of law. Plaintiffs observe that
section 1.08.090 states an enforcement official may select a remedy “to
further the purposes and intent of the chapter,” but that does not provide a
basis to find that chapter 1.08 itself authorizes multiple remedies or
avenues of relief that its text does not provide for. Instead, section 1.08.090



                                       15
contemplates that any remedies provided by chapter 1.08 or by other law
(including both “civil or criminal” “remedies”) remain available, and an
enforcement official may choose among them.
      As to section 1.08.010’s statement that chapter 1.08 provides “an
alternative method of code enforcement,” we find it significant that
chapter 1.08 appears in the Oakland Municipal Code along with
chapters 1.12 and 1.16, and that all three chapters impose administrative
sanctions to abate code violations and public nuisances. (§§ 1.08.020,
subd. (A) [“administrative assessment of civil penalties”], 1.12.020, subd. (A)
[“administrative assessment of citations,” i.e., smaller monetary sanctions],
1.16.020, subd. (A) [“administrative limitation of the use of property,” i.e.,
withholding permits and recording violation notices].) Each chapter states
it provides an “alternative method of code enforcement” (§§ 1.08.010,
1.12.010, 1.16.010); they provide the city manager with enforcement
authority and include similar notice and administrative hearing procedures
(§§ 1.08.040, 1.08.050, 1.08.080, 1.12.040, 1.12.050, 1.12.080, 1.16.040,
1.16.050, 1.16.080); and chapters 1.08 and 1.12 include provisions governing
the amount and duration of monetary sanctions (§§ 1.08.060, 1.12.060).
      In light of the parallel structure of these three companion chapters
authorizing administrative remedies for overlapping types of violations, we
think the “alternative method of code enforcement” language in each
chapter (§§ 1.08.010, 1.12.010, 1.16.010) means only that the enforcement
method it provides is (1) an alternative to the enforcement methods
described in the other two related chapters, and (2) an alternative to other
modes of enforcement authorized by sources of law outside this portion of
the Oakland Municipal Code, such as a civil action authorized by state
public nuisance law (see Civ. Code, §§ 3479, 3480, 3491, 3494). We do not



                                       16
read the “alternative method of code enforcement” language in
section 1.08.010 as supporting a conclusion that chapter 1.08 itself should be
read as containing multiple methods of code enforcement, such as a parallel
civil action remedy that is not expressly authorized by the chapter’s text.
      We also note (and we take judicial notice of) a new chapter—
chapter 1.10—that was added to the Oakland Municipal Code in 2023 (after
the decision under review here). (Evid. Code, §§ 452, subd. (b), 459,
subd. (a).) Chapter 1.10 (which is found immediately after chapter 1.08 and
before chapter 1.12) expressly authorizes the city attorney to seek, and the
court to award, civil penalties in a civil action alleging code violations or
public nuisances. (§§ 1.10.10, 1.10.20, subds. (C)–(F).) In our view,
although this new enactment post-dates the trial court’s judgment in this
case, the express grant of authority in chapter 1.10 is consistent with our
conclusion that there is not a similar grant of authority to be found in
chapter 1.08 for a court to award civil penalties in the first instance.
      For the above reasons, we conclude chapter 1.08—a scheme for the
administrative assessment of civil penalties—does not authorize an award
of civil penalties in this civil action by the city attorney.4
      2. The TPO’s Authorization of Civil Penalties
      As noted, the court found both the TPO and chapter 1.08 authorized
an award of daily civil penalties. Although the court found it could impose
“separate overlapping penalties” under these two portions of the municipal

      4 We therefore have no occasion to address defendants’ arguments

that (1) the court should not have imposed civil penalties under chapter 1.08
because most of the nuisance conditions allegedly had been abated by the
time of trial, and (2) a judicial award of civil penalties under chapter 1.08—
if otherwise permitted—had to be preceded (under exhaustion or other
principles) by an administrative assessment of penalties or other
administrative prerequisites.


                                        17
code, the court stated that “in the exercise of its discretion” it would
“impose[] a single daily penalty where both TPO and nuisance claims
overlap.” Accordingly, despite our conclusion that chapter 1.08 does not
authorize the court’s penalty award, as explained above, we must consider
whether the award may be upheld under the TPO.
      To begin with, we reject defendants’ argument that the award of
penalties under the TPO must be reversed because it was “infected” by the
court’s alleged errors in applying chapter 1.08. As defendants point out, in
setting the amount of the penalty award, the court stated that it was
imposing penalties under both the TPO and chapter 1.08, and that it was
“guided in the exercise of its discretion in assessing penalties by the factors
listed in [section 1.08.060, subdivision (E)]” (i.e., a provision of
chapter 1.08).5 The court’s consideration of these factors (which are not
spelled out in the TPO itself) was a reasonable exercise of discretion and did
not taint the TPO penalty award.
      Defendants next contend that, because chapter 1.08 authorizes the
assessment of civil penalties for TPO violations (see § 1.08.020, subd. (A)(1)),
the City had to comply with any procedural requirements set forth in
chapter 1.08 before it could seek relief under the TPO. We disagree. The
TPO states that it may be enforced using the remedies set forth in the TPO



      5 The cited provision states: “E. Civil penalties shall be assessed
based upon the following factors: [¶] 1. The duration and frequency of
recurrence of the major violation; [¶] 2. The detrimental effects of the major
violation on the occupants of the property and the surrounding
neighborhood and the community at large; [¶] 3. The history of compliance
efforts by the responsible person to correct the major violation wholly and
permanently; [¶] 4. The viability of the civil penalty to effect abatement of
the major violation wholly and permanently; [¶] 5. Other factors that serve
justice.” (§ 1.08.060, subd. (E).)


                                        18
itself, including a civil action by the city attorney. (§§ 8.22.650, subd. (A),
8.22.670, subds. (A), (C).) Here the City did not enforce the TPO via
chapter 1.08 but brought a separate TPO claim. And as discussed above,
chapter 1.08 itself states that the remedies it provides are cumulative, not
exclusive. (§§ 1.08.090, 1.08.020, subd. (B); see § 1.08.010 [ch. 1.08 provides
“an alternative method of code enforcement”].)
      There remains, however, the question whether, in a civil action to
enforce the TPO, the city attorney may seek a judicial award of civil
penalties. The current version of the TPO, which was enacted by the
Oakland City Council on July 21, 2020, expressly authorizes this relief.
(§ 8.22.670, subd. (A)(2); see Oakland Ord. No. 13608, § 2 &amp; Att. A.) But the
parties dispute whether such relief is available for TPO violations prior to
that date, which include the vast majority of the violations at issue here.6


      6 The trial court imposed the following civil penalties:

      (1) $1,000 per day for DODG for violations at 276 Hegenberger Road,
for the period from June 10, 2016, through January 25, 2019 (with Baljit
Mann jointly liable through May 1, 2018);
       (2) $1,000 per day for DODG for each of the two parcels at 1921
International Boulevard and 1931 International Boulevard, for the period
from February 1, 2018, through July 10, 2019 (with Baljit Mann jointly
liable through May 1, 2018);
       (3) $750 per day for DODG for 5848 Foothill Boulevard for the period
from June 10, 2016, through December 17, 2019, and then continuing at
$500 per day for that property through May 28, 2021 (with Baljit Mann
jointly liable through May 1, 2018);
       (4) $350 per day for DODG for 5268-5296 Foothill Boulevard for the
period from July 30, 2016, through December 24, 2020 (with Surinder Mann
jointly liable through January 2020); and
      (5) $250 per day for SBMANN2 for 5213-5219 International Boulevard
for the period from August 1, 2018, through September 1, 2020 (with Baljit
Mann and Surinder Mann jointly liable for this entire period).


                                       19
      The city attorney enforcement provision in the original version of the
TPO (enacted in 2014) authorized the city attorney to enforce the TPO by
filing a civil action “for injunctive relief or damages, or both.” (Former
§ 8.22.670, subd. (A)(2), as enacted by Oakland Ord. No. 13265, Nov. 5,
2014.) In a different sentence, the provision stated: “The City Attorney may
also request that an administrative citation or civil penalty be issued by the
City.” (Ibid.)7 In the current TPO, the city attorney enforcement provision
(1) includes an amended first sentence stating the city attorney’s civil action
may seek “equitable relief, restitution and/or penalties” (instead of
“injunctive relief or damages, or both”), (2) follows that amended sentence
with a new sentence stating a court may award civil penalties of up to
$1,000 per day for violations of specified provisions of the TPO, and
(3) retains unchanged the sentence allowing the city attorney to “request
that an administrative citation or civil penalty be issued by the City.”
(§ 8.22.670, subd. (A)(2).)8


      7 Former section 8.22.670, subdivision (A)(2) stated:  “The City
Attorney may enforce the TPO through civil action for injunctive relief or
damages, or both, for when the party against whom enforcement is sought
has a pattern and practice of violating the TPO. The City Attorney may also
request that an administrative citation or civil penalty be issued by the
City. The City Attorney has the sole discretion to determine the cases
appropriate for enforcement by the City Attorney’s Office.” (Former
§ 8.22.670, subd. (A)(2).)
      8 Section 8.22.670, subdivision (A)(2) states:“The City Attorney may
enforce the TPO through civil action for equitable relief, restitution, and/or
penalties when the party against whom enforcement is sought has a pattern
and practice of violating the TPO. A court may award civil penalties of up to
one thousand dollars ($1,000.00) per day for each violation of subsection
8.22.640 A., B., E., G., or H. A court may award punitive damages in a
proper case as set out in Civil Code Section 3294 and pursuant to the
standards set forth in that Code Section or any successor thereto. The City


                                       20
      In its 2021 statement of decision, the trial court concluded the TPO
authorizes the city attorney to seek civil penalties in the present
enforcement action “for the duration of violations at each property,” because
the July 2020 amendment to the TPO “clarifie[d]” the city attorney’s
“existing authority” to seek civil penalties under the TPO.9 Plaintiffs
similarly urge this conclusion in their appellate brief. Defendants dispute
this view, arguing that the prior version of the TPO “did not authorize civil
penalties” and that application of the amended version would be improper
and would violate due process.
      Here, too, our review is de novo. We independently review “whether
an amended statute applies to conduct that predates its enactment.” (Scott
v. City of San Diego (2019) 38 Cal.App.5th 228, 235.) As a general rule,
statutes do not operate retroactively “unless the Legislature plainly
intended them to do so.” (Western Security Bank v. Superior Court (1997)
15 Cal.4th 232, 243 (Western Security).) But “[a] statute that merely
clarifies, rather than changes, existing law is properly applied to
transactions predating its enactment.” (Carter v. California Dept. of
Veterans Affairs (2006) 38 Cal.4th 914, 922 (Carter).) “Such a statute ‘may
be applied to transactions predating its enactment without being considered
retroactive’ because it ‘is merely a statement of what the law has always
been.’ ” (In re Marriage of Fellows (2006) 39 Cal.4th 179, 183.)




Attorney may also request that an administrative citation or civil penalty be
issued by the City. The City Attorney has the sole discretion to determine
the cases appropriate for enforcement by the City Attorney’s Office.”
(§ 8.22.670, subd. (A)(2).)
      9 Because defendants had not argued this issue, the trial court did not

analyze the question in detail.


                                      21
         In determining whether a statute clarified or changed the law, we
consider the Legislature’s intent in enacting the statute, as well as “ ‘the
surrounding circumstances.’ ” (Fellows, supra, 39 Cal.4th at p. 184.) “One
such circumstance is when the Legislature promptly reacts to the emergence
of a novel question of statutory interpretation.” (Western Security, supra,
15 Cal.4th at p. 243; accord, Carter, supra, 38 Cal.4th at p. 930 [amendment
was a “prompt and clear response to an appellate court’s contrary
interpretation of the statute”].) “The Legislature’s declaration of an existing
statute’s meaning, while not dispositive, is a factor entitled to
consideration.” (Fellows, at p. 184.)
         In Carter, supra, 38 Cal.4th 914, where the Legislature had stated its
intent in enacting an amendment was to clarify existing law, the Supreme
Court examined the former statute to determine whether it “could not have
been properly construed” to have the meaning the amended version had.
(Id. at p. 924.) The court concluded the original statutory language was
ambiguous and both parties had made “credible arguments in favor of their
positions” as to its meaning (id. at p. 926); the legislative history of the
original provision also did not disclose a clear legislative intent (id. at
pp. 928–930). This ambiguity, combined with the Legislature’s statement of
intent in the amended statute and its prompt response to an appellate
court’s contrary interpretation, led the Supreme Court to conclude the
amendment merely clarified existing law. (Id. at p. 930; see In re J.C.
(2016) 246 Cal.App.4th 1462, 1479–1480 [where there were credible
arguments in favor of both interpretations of former statute, the
amendment “must be regarded as clarifying, rather than changing,” existing
law].)




                                        22
      We conclude the July 2020 ordinance that amended the TPO to
include express authorization for the city attorney to seek civil penalties in a
civil action—Oakland Ordinance No. 13608—changed the TPO on that
point, rather than merely clarifying it. The ordinance includes no statement
by the city council that the amendments made to the TPO were intended to
clarify existing law or to correct a contrary interpretation.10 And, in our
view, the former TPO is not reasonably susceptible to an interpretation that
it authorized the city attorney to seek civil penalties in a civil action.
      As noted, former section 8.22.670, subdivision (A)(2) included a
sentence authorizing the city attorney to file a civil action “for injunctive
relief or damages, or both” and a different sentence stating the city attorney
“may also request that an administrative citation or civil penalty be issued
by the City.” We think it clear that the latter sentence authorizes the city
attorney to seek administrative remedies (including civil penalties) through
administrative proceedings (i.e., to ask that they be “issued by the City”).
We disagree with plaintiffs’ suggestion that the reference to a “civil penalty”
in that sentence provides a basis to conclude it is an available remedy in a
civil action.
      We are not persuaded by plaintiffs’ argument that, because
administrative civil penalties are authorized, it “follows” that the city
attorney could seek civil penalties in court, where greater procedural and
evidentiary protections apply. The city council listed two sets of remedies

      10 We note that, if anything, the recitals in the ordinance suggest the

city council aimed to strengthen the TPO because it previously was too weak
and did not sufficiently punish and deter violators. (Oakland Ord.
No. 13608, pp. 1–2.) But these statements are brief, and it is not clear they
are directed to the specific change at issue here, so we do not attach great
significance to them. We conclude only that there is no evidence the city
council’s intent was to enact a mere clarification of the law.


                                        23
that were available through different channels. It is not our role to second-
guess that decision or to determine how well suited the judicial forum might
have been for the assessment of civil penalties if the city council had
authorized that relief.
      Returning to the sentence in former section 8.22.670,
subdivision (A)(2) that lists the remedies available to the city attorney in a
civil action, plaintiffs contend the reference there to “damages” should be
read to mean civil penalties, “because the City, as a government
enforcement agency, does not suffer ‘damages’ as a result of a TPO
violation.” We disagree. While it may not be clear what type of “damages”
would be recoverable by the city attorney under the former TPO, we decline
to read that term to mean the distinct remedy of civil penalties. (See Limon
v. Circle K Stores Inc. (2022) 84 Cal.App.5th 671, 702 [damages are intended
to compensate, while civil penalties are intended to punish the wrongdoer
and deter misconduct].) Treating the terms as synonymous would be
especially inappropriate here, where the city council used the term “civil
penalty” in a different sentence in former section 8.22.670,
subdivision (A)(2). (Limon, at p. 701 [“ ‘ “ ‘Ordinarily, where the Legislature
uses a different word or phrase in one part of a statute than it does in other
sections or in a similar statute concerning a related subject, it must be
presumed that the Legislature intended a different meaning.’ ” ’ ”].)
      For the foregoing reasons, we conclude Oakland Ordinance No. 13608,
the July 2020 ordinance amending the TPO to authorize the city attorney to
seek civil penalties in a civil action, was a change to the TPO, rather than a
mere clarification. Accordingly, applying it to events preceding its
enactment would be an improper retroactive application. (McClung v.
Employment Development Dept. (2004) 34 Cal.4th 467, 474.) Retroactive



                                      24
application is only proper if that is the clear legislative intent. (Id. at p. 475
[“ ‘[A] statute may be applied retroactively only if it contains express
language of retroactivity or if other sources provide a clear and unavoidable
implication that the Legislature intended retroactive application.’ ”].) “Of
course, when the Legislature clearly intends a statute to operate
retrospectively, we are obliged to carry out that intent unless due process
considerations prevent us.” (Western Security, supra, 15 Cal.4th at p. 243.)
      Plaintiffs do not argue that the Oakland City Council intended the
July 21, 2020 amendment to the TPO’s city attorney enforcement provision
to apply retroactively, and Oakland Ordinance No. 13608 does not include a
statement or other evidence of such intent.11 We therefore need not address
whether a retroactive application would implicate due process concerns.
      Because the TPO amendment authorizing the city attorney to seek
civil penalties in a civil action took effect on July 21, 2020 (see Oakland Ord.
No. 13608, § 11) and does not operate retroactively, we will vacate the civil
penalty award and remand for the trial court to recalculate it. Daily civil
penalties under the TPO may be awarded for violations that continued on or
after July 21, 2020 (which the court found occurred at some properties).12

      11 The amended text of a different provision of the TPO—

section 8.22.640 (which lists prohibited acts of tenant harassment)—states
that certain subdivisions of that section “shall apply beginning April 21,
2020.” (§ 8.22.640, subd. (A).) There is no similar statement or other
evidence supporting retroactive application of the amendments to the city
attorney enforcement provision.
      12 Defendants suggest the version of the TPO in effect when plaintiffs

filed their complaint in 2019 must be applied to all violations, even those
continuing after the TPO amendment took effect in July 2020. We reject
this argument. Imposing penalties for violations that occurred after the
amendment took effect is not a retroactive application of the law. The cases
cited by defendants on this point do not hold to the contrary. (Morris v.


                                        25
      Having concluded that the civil penalties for violations before July 21,
2020 must be vacated, we need not address defendants’ separate argument
that the penalties for 276 Hegenberger Road (which were for violations
between 2016 and 2019) were excessive because there were no authorized
tenancies during a portion of that period.
      3. The Injunction
      Relying on exhaustion and other doctrines, defendants contend that
plaintiffs’ alleged failure to follow administrative procedures in chapter 1.08
and other municipal code provisions—such as seeking the administrative
assessment of civil penalties, making official public nuisance declarations,
or including certain information in abatement notices—rendered the court
powerless to award civil penalties or issue injunctive relief “under OMC
Chapter 1.08.”
      Contrary to defendants’ assertion, the court did not rely on
chapter 1.08 as authority for the injunction.13 Instead, the court found
injunctive relief was authorized by the TPO (§ 8.22.670, subds. (A)(2), (C))
and by state public nuisance law (Code Civ. Proc., § 731; Civ. Code,




Pacific Electric Railway Co. (1935) 2 Cal.2d 764, 768–769 [defendant was
entitled to application of contributory negligence rule that existed at the
time of the accident]; Wexler v. City of Los Angeles (1952) 110 Cal.App.2d
740, 747 [applying wrongful death statute that was in effect on date of
decedent’s death]; see Wells Fargo &amp; Co. v. City &amp; County of San Francisco
(1944) 25 Cal.2d 37, 41 [statute that would have immediately cut off
plaintiffs’ right of action could not be applied, because it did not allow a
reasonable time after the effective date for the exercise of the right].)
      13 Chapter 1.08 (which, as discussed, pertains to the administrative

assessment of civil penalties) does not authorize injunctive relief.


                                      26
§ 3491).14 As discussed in part II.A.2, ante, any procedural prerequisites for
obtaining administrative civil penalties under chapter 1.08 provide no basis
to preclude judicial relief under the TPO, which has always (both before and
after the July 2020 amendment) authorized the city attorney to seek
injunctive relief in a civil action. (§ 8.22.670, subds. (A)(2), (C); former
§ 8.22.670, subds. (A)(2), (C).)
      And, as plaintiffs point out, defendants make no challenge in their
opening appellate brief to the finding of liability and resulting injunction
under state public nuisance law. Their summary argument on the point in
their reply brief (based again on exhaustion), even if it were properly raised,
is not persuasive. Defendants have not shown that any procedural
requirements for seeking an administrative civil penalty under chapter 1.08
should be viewed as negating the state law provisions authorizing the city
attorney to seek injunctive relief. (Code Civ. Proc., § 731; Civ. Code,
§ 3491.)15
   B. Liability for the Manns
      Defendants contend the trial court erred in holding Baljit Mann and
Surinder Mann were liable (along with the corporate defendants) for some of
the violations established at trial. We conclude the court did not err.



      14 In its statement of decision, the court stated that a provision of

Oakland’s building maintenance code—section 15.08.080, subdivision (F)—
also authorized injunctive relief. But in the permanent injunction itself, the
court stated it was issuing the injunction pursuant to the TPO and the state
statutory provisions cited above.
      15 Because civil penalties were the only relief granted by the trial

court under chapter 1.08, and because we have concluded the penalty award
must be reversed on other grounds, we need not address the parties’
arguments as to whether the City complied with any required
administrative prerequisites to obtaining relief under chapter 1.08.


                                        27
      The TPO provides in section 8.22.640, subdivision (A) that, “No Owner
or such Owner’s agent, contractor, subcontractor, or employee, shall do any
of” the listed prohibited acts (such as failing to provide housing services and
failing to make timely repairs) “in bad faith.” (§ 8.22.640, subd. (A).) The
trial court concluded, in part based on this provision, that liability under the
TPO is not limited to a property owner and that “an agent or representative
of a corporate entity may be liable under the TPO for his or her own
affirmative conduct, even if such conduct was within the scope of their
employment.” The court continued: “Mere passive shareholder or director
status, however, is not sufficient for liability under the TPO, since the agent
or representative must ‘do’ one or more of the prohibited types of
harassment in bad faith to be liable.” The court found Baljit Mann and
Surinder Mann played active individual roles in committing many of the
violations and held they were liable (for specified timeframes at certain
properties) based on their personal conduct.
      Defendants argue this result runs afoul of the “corporate privilege”
allowing shareholders to be shielded from a corporation’s liabilities, because
the court found the Manns liable without concluding they were alter egos of
the corporate defendants. We disagree. Where a statute imposes liability
on an individual for his or her own acts, it is no defense that the alter ego
doctrine would not also make the individual liable for a corporation’s acts.
(Atempa v. Pedrazzani (2018) 27 Cal.App.5th 809, 825 [“[T]he unambiguous
language of the statutes at issue applies to Pedrazzani as an ‘other person’
subject to the civil penalties. [Citations.] Contrary to Pedrazzani’s
suggestion, the inapplicability of the alter ego doctrine is not a defense to
the statutory liability of a party who otherwise qualifies as an ‘other person’
subject to a civil penalty under” the statutes at issue.].) In this



                                       28
circumstance, the common law alter ego doctrine is inapplicable. (Ibid.
[“Pedrazzani’s individual liability did not result from a corporate debt or
obligation based on what Pedrazzani describes as ‘disregarding the
corporate form’ under the common law”; instead, individual liability resulted
from evidence showing the defendant qualified as a person liable for civil
penalties under the relevant statutes].)
      Here, the court did not find that the Manns, by virtue of their status
as shareholders, were vicariously liable for the obligations of DODG or
SBMANN2. Instead, the court imposed liability on the Manns for their own
conduct and carefully separated the roles of the individual defendants at
each property (in some cases determining personal liability was appropriate
for one but not the other at a given property). (For example, at one
property, the court found Baljit Mann acted as DODG’s “agent”; the
property was “under his ‘control’ ”; and he “personally communicated with
the tenants at the property.” In contrast, there was “no evidence” that
Surinder Mann “had any involvement in this property other than as a
passive office manager/director.”) The court acted properly and did not
violate alter ego principles.16
      Defendants next argue the trial court misinterpreted the TPO as
authorizing individual liability for persons other than property owners. We



      16 We do not hold the Manns are personally liable for their own acts

under a negligence or other tort theory (see Frances T. v. Village Green
Owners Assn. (1986) 42 Cal.3d 490, 503–504), so we need not address the
parties’ arguments as to whether such liability would be appropriate here.
We hold only that the trial court’s findings about the Manns’ conduct bring
them within the category of persons (including property owners and their
agents) who are prohibited by the TPO from committing specified acts.
(§ 8.22.640, subd. (A).) Their liability is based on the TPO, as the trial court
held.


                                       29
agree with the trial court’s interpretation. As noted, section 8.22.640,
subdivision (A) prohibits not only an “Owner” but also an “Owner’s agent,
contractor, subcontractor, or employee” from committing the listed
prohibited acts. An agent thus can violate the TPO through his or her own
actions. And the remedy provisions of the TPO authorize relief against
anyone who violates the TPO (not just a property owner). (§ 8.22.670,
subds. (C) [“Any person who commits an act, proposes to commit an act, or
engages in any pattern and practice which violates the TPO may be enjoined
therefrom by any court of competent jurisdiction.”], (A)(2) [“The City
Attorney may enforce the TPO through civil action for equitable relief,
restitution, and/or penalties when the party against whom enforcement is
sought has a pattern and practice of violating the TPO.”].) An agent of a
property owner may be found liable under the TPO for the agent’s own
conduct.17
      Defendants’ contrary interpretation of the TPO is incorrect. They
assert the TPO defines “Owner” to mean “owner of record.” Not so. The
TPO defines “Owner” (by reference to a definition of “Landlord” in a related
code provision) to include an owner of record, other specified persons, and
“an agent, representative, or successor of any of the foregoing.” (§§ 8.22.620,
8.22.340.) And in any event, as noted, an “Owner” is not the only person
who can violate the TPO. An “agent, contractor, subcontractor, or employee”
of the owner can too. (§ 8.22.640, subd. (A).)
      Defendants argue that what section 8.22.640, subdivision (A) means is
that an owner is liable for the acts of its agents and employees. But that is

      17 We need not address the parties’ arguments as to whether

chapter 1.08 also authorizes individual liability, because we have concluded
chapter 1.08 does not support the trial court’s award of civil penalties as
against any of the defendants.


                                      30
not what the provision says. It does not discuss vicarious liability of owners
(and does not purport to expand or contract agency law on that point).
Instead, as noted, section 8.22.640, subdivision (A) identifies types of
conduct and states that owners and their agents and employees are
prohibited from engaging in that conduct. Section 8.22.670 then sets forth
the remedies that are available against a person who violates the TPO (not
just an owner). (§ 8.22.670, subds. (C), (A)(2).) Again, the TPO does not
state that shareholders are personally liable for corporate debts or for the
actions of other employees; it just holds individual agents and employees
liable for their own conduct.
      Defendants suggest the Manns’ conduct as outlined by the trial court
should not subject them to liability because they were acting “within the
scope of their duties as corporate (and LLC) owners.” But the court found
based on the evidence that the Manns acted as “agent[s]” for DODG or
SBMANN2 (again, at different times and for different properties), and
defendants do not challenge the court’s factual findings as to what they did
or failed to do. The TPO prohibits specified conduct by an “Owner” or “such
Owner’s agent, contractor, subcontractor, or employee,” and we see no basis
to exclude from this language a person who plays an active role as an agent
at a particular property just because they also happen to be a shareholder of
the corporation. (See Atempa v. Pedrazzani, supra, 27 Cal.App.5th at
pp. 825–826, 816–817 [finding individual defendant was liable for civil
penalties, despite his claim he acted within the scope of his agency].)
      Finally, we reject defendants’ suggestion that plaintiffs’ complaint did
not make clear that individual liability was possible. The complaint names
the Manns as defendants, along with DODG and SBMANN2; it alleges the




                                      31
“defendants” violated the TPO; and it states injunctive relief and civil
penalties are sought.
   C. Attorney Fees
      In its order granting plaintiffs’ motion for attorney fees, the trial court
awarded $2,320,554 for the case in chief, based on a lodestar of $1,105,026
and a 2.1 multiplier. After adjustments, including an addition for work on
the fee motion, the court awarded a total of $2,375,491.50 in attorney fees
and $24,456.01 in statutory costs.
      On appeal, defendants contend (1) reversal of any portion of the
judgment requires reversal of the fee award, and (2) plaintiffs are not
entitled to a multiplier. As to their second argument, defendants claim the
multiplier is improper because the TPO’s fee provision is “analogous” to
Code of Civil Procedure section 1021.5 (which bars use of a multiplier when
fees are awarded to a public entity in an action brought “pursuant to” that
statute). Defendants further assert no multiplier should be awarded
because the City is a public entity and did not face contingent risk in
litigating the case. Plaintiffs respond by arguing that Code of Civil
Procedure section 1021.5 does not apply here and the TPO fee provision
(§ 8.22.670, subd. (D)(1)) contains no similar prohibition on multipliers.
Plaintiffs further contend several factors justified the court’s selection of a
multiplier (while agreeing the contingent risk factor should not have been
considered).
      We agree with defendants’ first argument—our vacatur of the
substantial civil penalty award (which may be recalculated on remand,
likely for a fraction of the time period covered by the initial award) requires
reversal of the attorney fees award and a redetermination of the fee issue by
the trial court. In awarding fees, the trial court noted plaintiffs
“substantially prevail[ed]” in the action, which was complex and “was

                                       32
heavily litigated, fully tried and resulted in a $3.9 million judgment and a
broad 5-year city-wide injunction.” And in deciding on the multiplier, the
court again considered (as one of several factors) the results obtained by
plaintiffs, noting they “succeeded in this case to an extraordinary extent,
obtaining one of the largest judgments in a case like this as well as a broad
injunction.”
      Since we are vacating a portion of the relief obtained by plaintiffs, we
will vacate the fee award as well and remand for the trial court to reconsider
it. (See Ghirardo v. Antonioli (1994) 8 Cal.4th 791, 808–809 [reversing
damages award and remanding for reconsideration of fee issue].) For
guidance on remand, we note the trial court retains broad discretion to set
the amount of a fee award (Amaral v. Cintas Corp. No. 2, supra,163 Cal.App.4th at p. 1217), and nothing in this opinion should be read as
precluding a fee award of any size the court, in its discretion, applying the
applicable lodestar criteria, deems warranted—including, if the court should
so conclude, the same amount that it previously decided is warranted.
      In particular, we reject defendants’ view that no multiplier is
permitted here. The “lodestar adjustment method” of calculating attorney
fees permits use of a multiplier in certain circumstances to arrive at an
appropriate fee. (Ketchum v. Moses (2001) 24 Cal.4th 1122, 1134
(Ketchum).) The lodestar (“ ‘i.e., the number of hours reasonably expended
multiplied by the reasonable hourly rate’ ”) “ ‘may . . . be adjusted, based on
consideration of factors specific to the case, in order to fix the fee at the fair
market value for the legal services provided.’ ” (Ibid.) Contrary to
defendants’ suggestion, it is not necessary for the applicable statutory fee
provision to specify expressly that a multiplier may be used. (Id. at
pp. 1135–1136.)



                                        33
      Here, the court awarded attorney fees under the TPO’s fee provision,
section 8.22.670, subdivision (D)(1), which authorizes an award of fees in an
action under the TPO and contains no prohibition on the use of a
multiplier.18 We reject defendants’ contention that the limitation on
multipliers specified in Code of Civil Procedure section 1021.5 (a limitation
that, as noted, applies when fees are “awarded to a public entity pursuant to
this section”)19 should be read to bar the use of a multiplier for an award
under a different provision of law, specifically the TPO’s fee provision,
section 8.22.670, subdivision (D)(1).20 Code of Civil Procedure

      18 The court also cited chapter 1.08’s fee provision, section 1.08.040,

subdivision (G). Defendants argue (and plaintiffs do not appear to dispute)
that this provision is defective because it does not include prevailing party
language required for a city ordinance to authorize fees in a nuisance action
(see Gov. Code, § 38773.5, subd. (b)). We need not resolve this issue,
because the applicable TPO fee provision (§ 8.22.670, subd. (D)(1)) includes
prevailing party language and supports a fee award here.
      19 The portion of Code of Civil Procedure section 1021.5 that addresses

multipliers states: “Attorney’s fees awarded to a public entity pursuant to
this section shall not be increased or decreased by a multiplier based upon
extrinsic circumstances, as discussed in Serrano v. Priest [(1977)] 20 Cal.3d
25, 49.”
      20 Our decision in City of Santa Rosa v. Patel (2010) 191 Cal.App.4th

65, cited by defendants, does not preclude application of a multiplier here.
In City of Santa Rosa, we held that, in calculating a city’s fee award in a red
light abatement action, the trial court should have used the lodestar method
rather than a “cost-plus” approach. (Id. at pp. 70–71.) In reaching that
conclusion, we discussed Ketchum, stating in a footnote that: “The Ketchum
court noted that fee awards to public entities may not be increased or
decreased by a multiplier under Code of Civil Procedure section 1021.5.”
(City of Santa Rosa, at p. 71, fn. 4.) In turn, Ketchum discussed Code of
Civil Procedure section 1021.5 to support the conclusion that the “express
restriction on the use of fee enhancements” in that statute “ ‘can be read as
an implicit endorsement of their use in other contexts.’ ” (Ketchum, supra,
24 Cal.4th at p. 1135.) Our brief footnote in City of Santa Rosa does not


                                      34
section 1021.5, which codifies the “private attorney general doctrine,” is
designed primarily for the situation in which “private enforcement is
necessary because no public entity or official pursued enforcement or
litigation” (Robinson v. City of Chowchilla (2011) 202 Cal.App.4th 382, 390),
although the statute does provide for awards to public entities in some
circumstances (Code Civ. Proc., § 1021.5). Here, public enforcement officials
themselves brought this action, and they did not seek fees under Code of
Civil Procedure section 1021.5. We decline to import that statute’s
restrictions to the different situation presented in this case.
      Finally, in deciding to apply a multiplier here, the trial court relied on
several factors that could continue to support a multiplier on remand. In
addition to contingent risk (a factor we discuss further below), the court
found superior representation had been provided, including finding that the
hourly rates requested “should be augmented to take into account
representation that would have been expected for a more senior level of
experience.” The court also found that counsel obtained exceptional
results—including a “broad injunction” that we are affirming—and that the
case “advanced the public interest.” The court noted the case was publicly
funded and “precluded other representation by the relatively small
affirmative litigation unit of the City.” Defendants do not argue that the
court’s findings on these matters are unsupported by the record. And
consideration of such factors is supported by case law. (See Ketchum, supra,24 Cal.4th at pp. 1132, 1139; Serrano v. Priest, supra, 20 Cal.3d at p. 49;
In re Lugo (2008) 164 Cal.App.4th 1522, 1546.) “There is no magic formula;




establish that a public entity is ineligible for a multiplier when seeking a fee
award under a statute that contains no prohibition.


                                       35
any one factor may justify an enhancement.” (Sonoma Land Trust v.
Thompson (2021) 63 Cal.App.5th 978, 986.)
      As to contingent risk, the trial court found “this was a fully contingent
case,” because there was no guarantee plaintiffs would prevail and recover
fees. Defendants argue the contingent risk factor should not have been
considered, because the City’s attorneys were salaried employees who did
not face a personal risk of nonpayment. In response, plaintiffs (while
arguing the other factors outlined above amply support a multiplier) state
they “concede that the contingent-risk factor does not apply to this case and
the trial court should not have considered it as a basis for awarding a
multiplier.”
      In explaining their concession, plaintiffs do not adopt defendants’
precise challenge to the contingent risk factor. Plaintiffs instead state the
present case “is not a contingency fee case,” and they “had no private
counsel,” so this case does not present concerns raised in case law about the
need for neutrality of counsel bringing public nuisance actions. (See County
of Santa Clara v. Superior Court (2010) 50 Cal.4th 35, 63–64 [specifying
limits on contingent-fee arrangements between public entities and private
counsel in public nuisance actions]; People ex rel. Clancy v. Superior Court
(1985) 39 Cal.3d 740, 745.) Plaintiffs further state: “That the City and/or
the People could potentially not prevail and recover fees did not influence
whether the City and the People brought the case, or how it was
prosecuted.”
      Plaintiffs explain—and we agree—that the Clancy and County of
Santa Clara cases “highlight[] the importance of neutrality in government
enforcement actions.” But plaintiffs go on to emphasize an important
distinction. “Here,” they point out, “the compensation paid to the attorneys



                                      36
who represented the [public entity plaintiffs] was not directly tied to the
outcome of the case.” We accept plaintiffs’ concession on this point. Since
this was not a contingency fee case and because the risk of nonpayment did
not affect plaintiffs’ decisions as to whether or how to pursue the case, the
contingent risk factor does not itself support a fee enhancement. But we
also agree with plaintiffs that, even if that factor is not considered, the other
factors discussed above continue to provide, on remand, an ample basis for a
multiplier on this record.
                             III. DISPOSITION
      The trial court’s award of civil penalties and its award of attorney fees
and costs are vacated and remanded for further proceedings consistent with
this opinion. On remand, the trial court may recalculate the civil penalty
award for violations on and after July 21, 2020. The court may also
reconsider plaintiffs’ request for attorney fees and costs and enter a new
award as it deems appropriate. In all other respects, the judgment is
affirmed, including the injunction against all defendants. The parties shall
bear their own costs on appeal.

                                                     STREETER, Acting P. J.

WE CONCUR:

GOLDMAN, J.
HITE, J.*




      * Judge of the Superior Court of California, City and County of San

Francisco, assigned by the Chief Justice pursuant to article VI, section 6 of
the California Constitution.


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